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EXHIBIT A
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                                                                                            TODD BLANCHE
                                                                                Todd.Blanche@blanchelaw.com
                                                                                              (212) 716-1250

                                                     October 6, 2023

Via Email
Molley Gaston
Thomas Windom
Senior Assistant Special Counsels
950 Pennsylvania Avenue NW
Room B-206
Washington, D.C. 20530

       Re:     United States v. Donald J. Trump, No. 23 Cr. 257 (TSC)

Dear Ms. Gaston and Mr. Windom:

        We write on behalf of President Trump, pursuant to Rule 16, Brady, and Giglio, with
questions regarding “Document 1” and “Document 5” from your September 26, 2023 production.
Our review of your productions is ongoing. We expect to submit additional questions and requests
on a rolling basis, including, for example, relating to the issues we raised in our October 5, 2023
reply submission. (Dkt. No. 76).

        1.    We agree with your suggestion that the unclassified portions of Document 1 must
be produced in unclassified discovery, particularly in light of the fact that Mr. Lauro and Mr.
Singer have not been granted security clearances at this time. (See Dkt. No. 65 at 5 n.1). Please
let us know when you will make those unclassified materials available to us.

        2.      We seek additional information regarding the restricted-handling procedures and
the redactions to “Document 5” from the September 26 production.

        Regarding handling, consistent with your production letter, we have only been granted
read-and-return access to Document 5. The CISO is requiring that any notes relating to the
substance of Document 5 be handled in the same fashion, and we have not been provided with
access to a laptop that is cleared for the preparation of submissions to you or the Court regarding
the substance of Document 5. These restrictions are hindering our ability to prepare discovery
correspondence and motions, and to conduct necessary defense investigation. Relatedly, we do
not believe that the Court and its staff currently have access to a facility where Document 5 can be
reviewed and discussed, or devices that could be used to compose orders and opinions regarding
the substance of Document 5. The restrictions will therefore hinder the Court’s ability to address
any disputes we have over Document 5. In light of the expedited case schedule that you have
insisted on pursuing, please explain why these restrictions are necessary.

        Regarding redactions, we seek additional information regarding the basis for withholding
the redacted information and the procedure used to do so. We understand that the redactions were
requested by one or more of the agencies with equities in Document 5, and that the redactions were
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authorized unilaterally by the Special Counsel’s Office. In the Southern District of Florida, the
Office has indicated that it will rely on CIPA § 4 to seek court approval to redact information from
classified documents produced in discovery. (SDFL Dkt. No. 165 at 4). We believe that is the
necessary and appropriate procedure, including with respect to Document 5 in this case.

        At the risk of stating the obvious, we believe the redactions to Document 5 are inconsistent
with your discovery obligations. Please identify and confirm the individuals and entities that
requested the redactions, the individual at the Special Counsel’s Office who authorized the
redactions, and the legal basis relied upon to apply the redactions, which are hindering our review
of discovery and causing ongoing prejudice to President Trump.

        Please let us know if you would like to discuss any of these issues.

                                                     Respectfully Submitted,

                                                     /s/ Todd Blanche
                                                     Todd Blanche
                                                     Emil Bove
                                                     Stephen Weiss
                                                     Blanche Law PLLC

                                                     John F. Lauro
                                                     Gregory M. Singer
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